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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  STATESBORO DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )           CR 622-010
                                                 )
NICHOLAS RASHON FILLMORE                         )
                                            _________

                                            ORDER
                                            _________

       Objections to this Report and Recommendation must be filed by no later than February 2,

2024, must specify each proposed finding of fact and conclusion of law to which objection is made,

must state the bases for each such objection, and must be served upon all parties. Failure to file

objections by this deadline may result in this Report and Recommendation becoming the opinion

and order of the Court. Devine v. Prison Health Servs., Inc., 212 F. App’x 890, 892 (11th Cir.

2006) (per curiam). Failure to object to any proposed finding of fact or conclusion of law waives

the right to challenge on appeal the district court’s adoption of each such factual finding or legal

conclusion. 11th Cir. R. 3-1. The Clerk will submit this Report and Recommendation together

with any objections to Chief United States District Judge J. Randal Hall, on February 5, 2024.

       Requests for extension of time to file objections shall be filed with the Clerk of Court for

consideration by the undersigned. A party may not appeal this Report and Recommendation

directly to the United States Court of Appeals for the Eleventh Circuit. Appeals may be made only

from a final judgment.

       SO ORDERED this 26th day of January, 2024, at Augusta, Georgia.
